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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

ANGELIQUE KELLEY,                          )
                                           )
                             Plaintiff,    )        JURY TRIAL DEMAND
       vs.                                 )
                                           )        Case No.
HOPEBRIDGE, LLC,                           )
                                           )
                             Defendant.    )

                                           COMPLAINT

       Plaintiff Angelique Kelley (“Kelley”), for her Complaint against Defendant Hopebridge, LLC

(“Hopebridge”) states as follows:

                                               Introduction
       1.     This is an action for damages against Hopebridge for its discriminatory treatment,

retaliation and wrongful termination of Kelley's employment in violation of the Civil Rights Act of

1964 § 701 et seq., as amended, and 42 U.S.C. § 2000e (“Title VII”).

       2.     Hopebridge discriminated against Kelley by placing her on a Performance Development

Plan (“PDP”) because of her race (African American).

       3.     Hopebridge treated Kelley in a different manner than similarly situated white

employees.

       4.     Hopebridge treated Kelley in a different manner than similarly situated male employees.

       5.     Hopebridge retaliated against Kelley by terminating her employment after affording her

an insufficient period of time within which to improve her purported performance deficiencies

identified in the performance appraisal process because of her status as an African American Female.

       6.     Kelley seeks monetary damages, a declaratory judgment and injunctive relief restraining

Hopebridge from maintaining practices, policies, customs and usages that discriminated and retaliated


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against Kelley and members of her class because of their race and/or gender.

                                          EEOC Compliance
       7.      Kelley exhausted all of the administrative proceedings available to her by timely filing a

Charge of Discrimination on the basis of race discrimination and retaliation with the Equal

Employment Opportunity Commission (“EEOC”). This was done in compliance with 42 U.S.C. §

2000e-5.

       8.      Kelley received a Dismissal and Notice of Rights on or about February 20, 2019. A copy

of the Dismissal and Notice of Rights is attached and marked as Exhibit “1”.


                                              Jurisdiction
       9.      This Court has original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343 over

Kelley's causes of action arising under Title VII, 42 U.S.C. § 2000e-5(f)(1), (3) and (g), Section 102 of

the Civil Rights Act of 1991, 42 U.S.C. § 1981a, and pursuant to the Declaratory Judgment Act, 28

U.S.C. §§ 2201 and 2202.

       10.     Venue lies in the United States District Court for the Southern District of Indiana

because a substantial part of the events or omissions giving rise to Kelley's claims occurred in

Indianapolis, Indiana. 28 U.S.C. § 1391(b)(2).

       11.     Divisional venue is in the Indianapolis Division because the events leading to the claims

for relief arose in Marion County.


                                                 Parties
       12.     Kelley is an adult citizen and resident of Indianapolis, Marion County, Indiana.

       13.     Hopebridge is a domestic limited liability for-profit company registered to do business in

the State of Indiana.

       14.     At all times material hereto, Kelley was an employee and Hopebridge was her employer,



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covered by and within the meaning of Title VII.


                                             Background
       15.    On or about September, 12, 2016, Kelley agreed to work for Hopebridge.

       16.    Kelley's responsibilities included “billing” for Medicaid services.

       17.    Upon information and belief, Kelley performed her duties and responsibilities with an

exemplary and unblemished employment record.

       18.    Kelley received quarterly “bonuses” for meeting all of her goals from the employer.

       19.    On or about July 28, 2017, Kelley disciplined two white employees for failing to

perform their duties. Said employees complained to Hopebridge.

       20.    On or about August 8, 2017, Hopebridge issued to Kelley a “written warning” and a

Performance Development Plan.

       21.    Kelley was informed that the August 8, 2017 discipline came from Herb Senft,

Hopebridge's CFO.

       22.    Kelley was terminated by Hopebridge on or about August 11, 2017.

       23.    Hopebridge afforded Kelley only three (3) calendar days to show improvement under the

PDP.

       24.    As a direct and proximate result of the foregoing conduct:

              (a)   Kelley incurred and and continues to incur a substantial loss of present and future

                    income;

              (b)   Kelley has lost the fringe benefits provided by Hopebridge;

              (c)   Kelley has suffered damage to her career;

              (d)   Kelley has suffered mental and physical anguish; and

              (e)   Kelley has incurred additional financial losses, including the costs associated with



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                       invoking her federally protected civil rights.


                                            Statement of Claims
                                                 COUNT I
                                           (Race Discrimination)
        25.      Kelley re-alleges and incorporates by reference paragraphs 1 through 24.

        26.      Kelley was subjected to harassment based on her race.

        27.      Kelley was subjected to unwarranted disciplinary actions based on her race.

        28.      Hopebridge was fully aware that Kelley was being discriminated against based on her

race.

        29.      Hopebridge did not address, respond and/or eliminate the discrimination against Kelley.

        30.      Hopebridge's acts and omissions were with malice and in reckless disregard of Kelley's

federal civil rights. The policies and practices described above are part of a pattern and practice of race

discrimination employed by Hopebridge and constitutes a violation of 42 U.S.C. § 2000e-2(a) and the

interdiction of the statute against limiting, classifying or segregating employees in the terms, conditions

and privileges of their employment on the basis of their race.

        31.      As a result of Hopebridge's discriminatory acts, Kelley has suffered and will continue to

suffer monetary damages and damages for mental anguish and humiliation unless and until this Court

grants relief.


                                             Prayer For Relief
        WHEREFORE, Plaintiff Angelique Kelley respectfully requests this Court:

        A.       Enter judgment in favor of Kelley and against Defendant Hopebridge, LLC;
        B.       Enter an order declaring Defendant Hopebridge LLC's conduct a
                 violation of Title VII;

        C.       Award Kelley compensatory and punitive damages against Defendant Hopebridge LLC;
        D.       Award Kelley's counsel reasonable attorneys' fees and costs;

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       E.      Enter a permanent injunction, upon proper motion, requiring Defendant Hopebridge

               LLC to adopt appropriate policies related to the hiring, training and supervision of its

               employees; and

       F.      Grant Kelley such other and further relief as may be just and proper under the
               circumstances, including but not limited to appropriate injunctive relief.



                                           Jury Trial Demand
       Plaintiff demands a jury trial, pursuant to the Seventh Amendment to the Constitution of the

United States, as to all claims for damages.



                                                    Respectfully submitted,



                                                     /s/ Daniel K. Dilley
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